                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                        DOCKET NO. 3:02CR150-4-V


UNITED STATES OF AMERICA                   )
                                           )
            v.                             )   MEMORANDUM AND ORDER
                                           )
MICKEY DESHAUN SMITH,                      )
                                           )
               Defendant.                  )
___________________________________


     THIS   MATTER     is   before   the   Court   for   a   determination      of

competency following the Defendant’s second evaluation at FCI

Butner and his ongoing evaluation by his own court-appointed expert

psychologist, Stephen B. Bondy, Ph.D.              A competency hearing was

conducted by the undersigned on Thursday, May 26, 2005. Thus, this

matter is now ripe for resolution.


                  I.   FACTUAL AND PROCEDURAL BACKGROUND

     This case is older than most, largely due to severe brain

damage suffered by the Defendant in an automobile accident about

two-and-a-half months after he was indicted.             As noted above, the

Defendant has been evaluated and treated at FCI Butner twice and on

an ongoing basis by his own expert, Dr. Stephen B. Bondy.                      The

relevant facts and dates are as follows.

     On May 7, 2002, the Defendant was indicted for conspiring to

bring cocaine from Jamaica to the United States and with possessing

the subject      cocaine with    intent to distribute it.        No claim has




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been made that the Defendant was incompetent to proceed at the time

he was charged.

       Less than three months after he was charged, however, on

August 25, 2002, the Defendant was involved in an automobile

accident    in    which   all    agree    he    suffered       very    serious   brain

injuries.        Dr. Bondy testified at the competency hearing, for

example, that almost forty percent of those suffering initial

injuries of this severity die from them and that a portion of the

Defendant’s       brain–-although        he    could    not     state     a   specific

percentage–-“was left on the windshield.”

       The Court has continued this case many times to allow for the

various evaluations and has in the interim received four expert

reports. Three have concluded that the Defendant is incompetent to

proceed, including the first report received from the Government’s

experts at FCI Butner.          The second report from Butner concludes to

the   contrary     that   the    Defendant     has     since    been    “restored      to

competency.”

       The first evaluation received by the Court was that of Dr.

Stephen B. Bondy, a Charlotte-based psychologist who has testified

in the past in state and federal court for both the prosecution and

defense (although a majority of the time for the defense).                            The

Government, represented by AUSA Scott Broyles, stipulated that Dr.

Bondy was qualified to testify as an expert.                    Dr. Bondy noted in

his initial report, dated January 15, 2003, that Mickey Deshaun


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Smith     (the   Defendant)   “appeared      to   be    rather   sleepy       and

disheveled,” “was unsure as to the purpose of the meeting,” “was

unable to recall his attorney’s name,” “was not able to state the

date, or the city,” and that “[i]n each case he deferred to his

sister” (with whom he has lived since the accident).

     After conducting interviews and various tests and reviewing

his medical records, Dr. Bondy concluded that the Defendant “has

severe amnesia about much of his life,” “is not oriented as to

time, place or circumstance,” and most significantly, that “he is

unable to participate effectively in his defense.” In other words,

Dr. Bondy’s initial conclusion-–which agreed with the Government

experts’    initial    conclusion-–was    that    the   Defendant     was     not

competent to proceed.

     On the basis of this report, the Government moved to have the

Defendant evaluated in custody (at a federal facility) to determine

his competency.       The Government’s motion was granted on September

18, 2003, and the evaluation was thereafter conducted at FCI

Butner.

     By cover letter dated April 30, 2004, Warden A. F. Beeler

transmitted the “Forensic Evaluation” report (signed April 26,

2004), reporting that the evaluations had concluded that “Mr. Smith

is suffering from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand the

nature and consequences of the proceedings filed against him or


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assist properly in is own defense” (emphasis added).                               However, as

Warden Beeler also noted, the evaluators concluded that there were

“[s]ome signs of subjective improvement” and that the Defendant was

“likely       to    benefit      from       further    cognitive          rehabilitation”;

accordingly, the request was made--and granted by the Court--for

“an additional 120-day period for competency restoration, pursuant

to Title 18, United States Code, Section 4241(d).”

        The   initial      report      from    FCI    Butner      began     by     noting    the

information available to the evaluators, and the course followed in

the    institution         (including       physical       examinations,           medications

prescribed,        observation         of   the    Defendant,       review       of   relevant

documents,         physical      and    psychological         testing,       consults       with

specialists, and interviews).                  Following detailed review of the

above (filling thirteen pages of a seventeen-page report), Dr.

Joseph Boyle and Dr. Bruce R. Berger, both psychiatrists, concluded

that     “Mr.      Smith    is    not       likely    to     benefit        from      cognitive

rehabilitation,” that “Mr. Smith suffers from cognitive problems

resulting from traumatic brain injury,” and most importantly, that

“Mr. Smith suffers from a mental disease rendering him mentally

incompetent to the extent that he is unable to understand the

nature and consequence of the proceedings against him or to assist

properly in his defense.”                   “Therefore,” the Government’s first

report concluded, “we view him as incompetent to stand trial”

(emphasis added).


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     As noted, the first report from FCI Butner also recommended

that the Defendant be returned for an additional period of 120 days

to determine whether he could be restored to mental competency, a

course which was ordered by the Court, albeit (on defense counsel’s

request) only after two years had elapsed since the accident.                See

document #144, allowing the Defendant to live on with his sister

until two years elapsed since the accident, noting that this was

the period of time at least one of the experts opined was necessary

to maximize improvement following this kind of brain injury.

     By cover letter dated March 4, 2005, Warden Beeler transmitted

the second Forensic Evaluation report.        In contrast to the first,

Warden Beeler reported that the second group of evaluators (Dr.

Berger and Dr. Matthew Soulier, both psychiatrists, and Jill Grant,

a psychologist) had determined that the Defendant was competent to

proceed, that is, that he had been “restored to competency.”

     It is frankly difficult to understand the precise basis for

the change in conclusion between the first and second evaluations

at FCI Butner.    To the extent that it is factually supported, the

second report notes the Defendant’s “active and enthusiastic”

participation in a “competency restoration group”; his ability “to

identify   all   seven   of   the   topics   for   competency”;      and     his

“demonstrated knowledge of the material discussed.”            However, the

second report also concedes that when asked about the current

changes the Defendant initially said “I don’t remember” and only


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later was able to minimally answer in an arguably accurate manner

(“something about drugs-selling, dealing drugs, or had drugs”).

Furthermore, the Defendant continued to assert throughout the

second evaluation that “he had no recollection of his offense, and

his only knowledge was based on reports given from outside sources.

He claimed since his car accident, he cannot remember the events

prior, including at the time of the offense” (“Forensic Evaluation”

at FCI Butner completed December 8, 2004 and signed March 8, 2005;

document #159).

     Dr. Stephen Bondy also conducted follow-up interviews after

reviewing the second Butner Forensic Evaluation report, and issued

a second report himself.     Although Dr. Bondy agrees that there has

been “a definite improvement in [the Defendant’s] ability to

communicate and [in] his general physical condition,” he does not

agree that the Defendant has been restored to competency to stand

trial.    Specifically, Dr. Bondy notes that the Defendant “has

virtually no memory of people or events prior to the accident,” “is

not sure of what was the highest grade completed in school,” does

not remember friends from high school when he sees them in public

or they visit him at home, is not sure he would recognize his own

attorney, did not appear to recognize Dr. Bondy on his last visit,

and at best has experienced some improvement in short-term memory

only.    Thus, while he agrees with some of the Government experts’




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factual observations, Dr. Bondy concludes in his report dated March

25, 2005:

        In   my  professional   opinion,  with   a  degree of
        psychological certainty [the Defendant] has such
        significant cognitive deficits, that he is unable to
        adequately assist in his defense at this time.
        Furthermore, there is little probability that he will
        significantly improve in the future, if at all.

        The only witness called at the May 26 hearing was Dr. Stephen

Bondy, the Government simply tendering a response to a letter from

Assistant United States Attorney Scott Broyles to Dr. Bruce R.

Berger, a staff psychiatrist at FCI Butner who had participated in

both evaluations of the Defendant. Dr. Bondy testified that he has

a Ph.D in Psychology from Michigan State University; that he has

been a practicing psychologist since 1971 and has consulted on

numerous occasions since that time in criminal cases during his

career (consulting on occasion for both the state and federal

governments, but a majority of the time for the defense); and that

he has spent 5-1/2 to 6-1/2 hours interviewing the Defendant and

his closest family since being retained in this case.

        Dr.   Bondy   testified    that       when   he    first      interviewed      the

Defendant in December 2002, only months after his automobile

accident, he moved in a “very sluggish manner,” had a “huge scar or

scab     on   his   head,”   was   “obviously         in   much       pain,”   and     had

“difficulty in communicating.”            As noted previously, however, Dr.

Bondy conceded that in his most recent contact with the Defendant,



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he “moves better” and generally seems to have “improved over time.”

On this much the Government and the Defendant appear to agree.

       Improvements notwithstanding, Dr. Bondy–-in his written report

and    oral    testimony-–continues       to   believe    the    Defendant       is

incompetent to assist in his defense.               Essentially, Dr. Bondy

agrees with the Government that the Defendant’s short-term memory

has improved and that he can, in fact, be taught to remember

certain facts and points of information.              However, Dr. Bondy is

equally certain that the Defendant remains incompetent to reason

and    to     make   other     critical    decisions      inherent      in      the

constitutionally minimal “assistance in his own defense.”                 Having

carefully reviewed the four expert reports, and having considered

the evidence and arguments presented at the May 26 competency

hearing, the undersigned concurs.

       As noted, the Government’s only proffer of evidence at the

competency hearing was a letter from Dr. Bruce R. Berger, a staff

psychiatrist at FCI Butner, responding to two questions posed by

Assistant U.S. Attorney Scott Broyles. AUSA Broyles’ two questions

and Dr. Berger’s verbatim answers were:

              Question 1: Whether within a reasonable degree
              of medical/psychological certainty Mr. Smith
              does not recall the pre-accident events
              regarding the drug trafficking activities in
              which he was charged by a grand jury in the
              Western District of North Carolina, or in the
              alternative whether he is falsifying his claim
              of recollection?

              Answer: It is my opinion Mr. Smith did suffer

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          a   traumatic   brain    injury,    specifically
          Cognitive Disorder Not Otherwise Specified as
          a result of his motor vehicle accident on
          08/25/02.    In all likelihood he did have
          alteration of his ability to recall past
          events. Our evaluation of Mr. Smith strongly
          suggested      limited       motivation       on
          neuropsychological    testing    regarding   his
          memory. His report that he had total amnesia
          for events both before and after his injury is
          atypical. Having said that we can not within
          reasonable medical certainty know precisely
          what he does or does not recall regarding his
          alleged drug trafficking activities. Further
          we can not say to what degree if any he is
          falsifying his lack of memory.

          Question 2: If Mr. Smith lacks recollection of
          pre-accident drug activities, whether (and
          when) he may, or not, recover his memories
          such events?

          Answer: Typically, people who suffer a
          traumatic brain injury make most of their
          recovery including recovery of memories within
          the first six months after the event and their
          recovery tends to plateau after approximately
          one year. Since Mr. Smith’s accident occurred
          in 2002 it is my opinion that he has
          essentially recovered what memories he can by
          this time.

Letter from Bruce R. Berger, M.D., to Scott Broyles dated April 25,
2005.

     On this record, the undersigned finds that the Defendant
remains incompetent to assist adequately in his own defense, that
is, that the second expert report from FCI Butner concluding that
the Defendant has been “restored to competency” is not supported by
a preponderance of the evidence.


                     II.     CONCLUSIONS AND ORDER

     Having carefully considered the evidence presented and the

arguments of the parties, the undersigned respectfully concludes


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that the Defendant remains INCOMPETENT to proceed, and is not

likely to regain competency in the forseeable future.

     Accordingly, the Government is ORDERED to dismiss or otherwise

dispose of the active charges against the Defendant-–who the

Government   has     stipulated   and      agreed   is not a “danger to the

community” (which might otherwise justify proceedings to keep an

incompetent Defendant in custody).


                      III.   NOTICE OF APPEAL RIGHTS

     The   parties    are    hereby   advised,      pursuant     to   28   U.S.C.

§636(b)(1)(c), that written objections to the proposed findings of

fact and conclusions of law contained in this Memorandum and Order

must be filed within ten (10) days after its receipt. Snyder v.

Ridenour, 889 F.2d 1363, 1365 (4th Cir. 1989); United States v.

Rice, 741 F. Supp. 101, 102 (W.D.N.C. 1990).                    Failure to file

objections with the district court constitutes a waiver of the

right to de novo review by the district court, Snyder, 889 F.2d at

1365, and may preclude the parties from raising such objections on

appeal. Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766

F.2d 841, 845-46 (4th Cir. 1985); United States v. Schronce, 727

F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984).


     The Clerk is directed to send copies of this Order to counsel

for the parties; and to the Honorable Richard L. Voorhees.




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 SO ORDERED.




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                     Signed: May 31, 2005




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